                                Case 8:24-bk-00576-CPM                     Doc 1      Filed 02/02/24           Page 1 of 11


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                King State Coffee LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  520 E. Floribraska Avenue                                       16703 E. Course Drive
                                  Tampa, FL 33603                                                 Tampa, FL 33624
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hillsborough                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:24-bk-00576-CPM                        Doc 1         Filed 02/02/24              Page 2 of 11
Debtor    King State Coffee LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 8:24-bk-00576-CPM                             Doc 1       Filed 02/02/24             Page 3 of 11
Debtor    King State Coffee LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                        Case 8:24-bk-00576-CPM                     Doc 1       Filed 02/02/24             Page 4 of 11
Debtor   King State Coffee LLC                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                             Case 8:24-bk-00576-CPM                       Doc 1         Filed 02/02/24             Page 5 of 11
Debtor    King State Coffee LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 2, 2024
                                                  MM / DD / YYYY


                             X /s/ Timothy F. McTague                                                     Timothy F. McTague
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ David S. Jennis                                                         Date February 2, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David S. Jennis 775940
                                 Printed name

                                 David Jennis, PA d/b/a Jennis Morse
                                 Firm name

                                 606 East Madison Street
                                 Tampa, FL 33602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (813) 229-2800                Email address      ecf@JennisLaw.com

                                 775940 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                        Case 8:24-bk-00576-CPM            Doc 1    Filed 02/02/24     Page 6 of 11

                                                       King State
                                                      Profit and Loss
                                                  October - December, 2023


                                                                                                         TOTAL
Income
 4000 In-Store Sales
  4005 In-Store Food Sales                                                                            127,770.00
  4010 In-Store Beverage Sales                                                                        151,381.90
 Total 4000 In-Store Sales                                                                            279,151.90
 4200 Wholesale Sales                                                                                   4,640.00
 4300 Merchandise Sales                                                                                 3,188.00
 4350 Website Sales                                                                                    33,751.30
 4500 Discounts/Comps                                                                                 -14,638.74
 4600 Brutalist Equipment Rental Sales                                                                 11,101.14
 Unapplied Cash Payment Income                                                                          6,226.00
Total Income                                                                                         $323,419.60
Cost of Goods Sold
 5100 COGS Beverages
  5105 COGS - Beer
  5106 COGS - Beer Keg Rental                                                                           1,575.36
  5107 COGS - Beer Draft                                                                               23,857.35
  Total 5105 COGS - Beer                                                                               25,432.71
  5110 COGS - Coffee                                                                                   12,887.68
  5115 COGS - Liquor                                                                                    1,815.66
  5120 COGS - Wine                                                                                     15,847.73
  5125 COGS -N/A Beverage                                                                                897.47
  5500 COGS Distribution                                                                                8,845.25
 Total 5100 COGS Beverages                                                                             65,726.50
 5200 COGS - Food                                                                                      56,037.87
 5300 COGS Paper and Packaging                                                                           591.05
 5400 COGS Merchandise                                                                                  2,332.00
 5600 COGS Shipping Cost                                                                                3,057.95
Total Cost of Goods Sold                                                                             $127,745.37
GROSS PROFIT                                                                                         $195,674.23
Expenses
 6000 Employee Salaries And Benefits
  6050 Payroll Expenses
  6100 Salaries and Wages                                                                             130,559.72
  6395 Payroll Manual                                                                                   1,057.69
  6450 Subcontractors                                                                                   8,740.00
  Total 6050 Payroll Expenses                                                                         140,357.41
  6500 Employee Benefits                                                                               13,737.57
 Total 6000 Employee Salaries And Benefits                                                            154,094.98




                                 Cash Basis Wednesday, January 10, 2024 02:46 PM GMT-05:00                   1/3
                         Case 8:24-bk-00576-CPM         Doc 1    Filed 02/02/24     Page 7 of 11

                                                     King State
                                                    Profit and Loss
                                                October - December, 2023


                                                                                                     TOTAL
7000 Operating Expenses
7005 Bar Supplies                                                                                   3,380.22
7015 Cleaning & Paper Supplies                                                                      1,511.97
7020 Cleaning Service                                                                                411.00
7025 Equipment Rental                                                                               2,043.46
7030 Flowers And Decorations                                                                         389.88
7040 Kitchen/Restaurant Supplies                                                                   28,183.50
7045 Laundry & Linen Rental                                                                          106.64
7050 Music And Entertainment                                                                          79.16
7060 POS Services/Supplies                                                                          4,420.68
Total 7000 Operating Expenses                                                                      40,526.51
7090 Fees and Commission
7093 Charge Backs                                                                                     46.75
7094 Credit Card Fees                                                                               7,701.42
7095 Sales Adjustments                                                                               102.74
Total 7090 Fees and Commission                                                                      7,850.91
7100 Marketing Expense
7105 Advertising                                                                                    4,431.85
7115 Printing And Reproduction                                                                      2,446.05
7130 Research and Development                                                                        277.74
Total 7100 Marketing Expense                                                                        7,155.64
7200 Repairs And Maintenance                                                                        9,513.22
7300 Occupany Expenses
7315 Rent or Lease
 7316 500 Floribraska Lotb Rent                                                                     1,713.00
 7317 SPoT Rent                                                                                     1,860.50
Total 7315 Rent or Lease                                                                            3,573.50
7320 Storage-Rent                                                                                    276.31
Total 7300 Occupany Expenses                                                                        3,849.81
7400 Utilities Expense
7405 Alarm Monitoring                                                                                287.35
7415 Electric And Gas                                                                               4,195.06
7425 Telephone                                                                                      2,566.73
7430 Water Charges                                                                                  6,517.32
Total 7400 Utilities Expense                                                                       13,566.46
7500 General And Admin
7305 Insurance                                                                                     13,348.69
7515 Bank Charges                                                                                    273.00
7535 Computer Services/Supplies                                                                     2,292.45
7540 Dues & Subscriptions                                                                           1,134.33
7550 Legal Expenses                                                                                  565.50




                               Cash Basis Wednesday, January 10, 2024 02:46 PM GMT-05:00                 2/3
                         Case 8:24-bk-00576-CPM           Doc 1    Filed 02/02/24     Page 8 of 11

                                                       King State
                                                      Profit and Loss
                                                  October - December, 2023


                                                                                                          TOTAL
  7555 Licenses & Permits                                                                               1,162.35
  7560 Lodging                                                                                            193.46
  7565 Meals and Entertainment                                                                          1,330.31
  7575 Office Supplies                                                                                  1,054.45
  7580 Gusto Payroll Fee                                                                                1,164.00
  7595 Professional Fees                                                                                2,266.00
  7600 Sales And Use Tax                                                                                  -60.00
  7605 Travel
  7607 Fuel / Transportation                                                                              680.52
  7608 Parking Fees                                                                                        12.85
  Total 7605 Travel                                                                                       693.37
 Total 7500 General And Admin                                                                          25,417.91
 8505 State Taxes                                                                                       5,534.72
 8600 Uncategorized Expense/Income                                                                        392.00
Total Expenses                                                                                       $267,902.16
NET OPERATING INCOME                                                                                 $ -72,227.93
Other Expenses
 8300 Interest Expense                                                                                    450.06
Total Other Expenses                                                                                     $450.06
NET OTHER INCOME                                                                                       $ -450.06
NET INCOME                                                                                           $ -72,677.99




                                 Cash Basis Wednesday, January 10, 2024 02:46 PM GMT-05:00                    3/3
                              Case 8:24-bk-00576-CPM                       Doc 1         Filed 02/02/24                Page 9 of 11


 Fill in this information to identify the case:
 Debtor name King State Coffee LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 BayFirst National                                   520 E. Floribraska                                    $347,463.59               $700,000.00               $216,932.12
 Bank, NA                                            Avenue, Tampa,
 700 Central Avenue                                  FL 33603
 Saint Petersburg, FL                                Value based on
 33701                                               2020 appraisal
 Blue Bridge                                         Monoblock CB50C                                       $200,635.68                        $0.00            $200,635.68
 Financial, LLC                                      with parts
 11921 Freedom
 Drive
 Suite 1130
 Reston, VA 20190
 Cavoya Coffee                                       Trade debt                                                                                                  $22,000.00

 IPFS Corporation                                    Insurance                                                                                                     $4,708.71
 400 Northridge Road
 Suite 450
 Atlanta, GA 30350
 Keg Connect, LLC                                    40 1/6 BBL Kegs                                          Unknown                   Unknown                   Unknown
 701 Dr. MLK Jr. St.
 S.
 Saint Petersburg, FL
 33705
 Keg Connect, LLC                                    35 16 BBL Kegs                                           Unknown                   Unknown                   Unknown
 701 Dr. MLK Jr. St.
 S.
 Saint Petersburg, FL
 33705
 Keg Connect, LLC                                    20 1/6 BBL Kegs                                          Unknown                   Unknown                   Unknown
 701 Dr. MLK Jr. St.                                 and 36 1/2 BBL
 S.                                                  Kegs
 Saint Petersburg, FL
 33705
 Keg Connect, LLC                                    60 1/6 BBL Kegs                                          Unknown                   Unknown                   Unknown
 701 Dr. MLK Jr. St.                                 and 24 1/2 BBL
 S.                                                  Kegs
 Saint Petersburg, FL
 33705


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                             Case 8:24-bk-00576-CPM                        Doc 1        Filed 02/02/24                Page 10 of 11



 Debtor    King State Coffee LLC                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Pawee                                               Cryodoser Flex -                                       $45,903.40                        $0.00              $45,903.40
 550 1st Avenue N.                                   Craft Custom,
 Saint Petersburg, FL                                C-Flex STD Doser
 33701                                               Hose R1 1/4" ID
                                                     SW CFLEX,
                                                     Interchangeable
                                                     arm, Long Doser
                                                     X, Sensor kit - Ind.
                                                     Prox. 18MM with
                                                     cable &
 SystmatiQ                                           Bookkeeping                                                                                                 $12,000.00
 Accounting                                          services
 Attn: Neeta Hemlall
 390 Myrtle Ave
 Brooklyn, NY 11205




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                   Case 8:24-bk-00576-CPM      Doc 1     Filed 02/02/24   Page 11 of 11



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King State Coffee LLC                 First Home Bank
16703 E. Course Drive                 9190 Seminole Boulevard
Tampa, FL 33624                       Seminole, FL 33772




David S. Jennis                       Fly
David Jennis, PA d/b/a Jennis Morse   1776 11th Avenue North
606 East Madison Street               Saint Petersburg, FL 33713
Tampa, FL 33602



BayFirst National Bank, NA            IPFS Corporation
700 Central Avenue                    400 Northridge Road
Saint Petersburg, FL 33701            Suite 450
                                      Atlanta, GA 30350



Blue Bridge Financial, LLC            Keg Connect, LLC
11921 Freedom Drive                   701 Dr. MLK Jr. St. S.
Suite 1130                            Saint Petersburg, FL 33705
Reston, VA 20190



Cavoya Coffee                         Pawee
                                      550 1st Avenue N.
                                      Saint Petersburg, FL 33701




Channel Partners Equip. Fin.          SystmatiQ Accounting
10900 Wayzata Blvd                    Attn: Neeta Hemlall
Suite 300                             390 Myrtle Ave
Hopkins, MN 55305                     Brooklyn, NY 11205



CT Corporation System, Rep            Timothy F. McTague
330 N. Brand Boulevard                16703 E. Course Drive
Suite 700                             Tampa, FL 33624
Attn: SPRS
Glendale, CA 91203

ELease                                U.S. Small Business Admin.
550 1st Avenue N.                     2 North Street
Saint Petersburg, FL 33701            Suite 320
                                      Birmingham, AL 35203



ELease Funding, Inc.
550 1st Avenue N.
Saint Petersburg, FL 33701
